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In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-00895-CR

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IN RE
MICHAEL JOHN VILLALOBOS, Relator



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Original Proceeding on Petition for Writ of Mandamus

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MEMORANDUM OPINION

Relator, Michael John Villalobos, has filed a pro se petition
for writ of mandamus, asking this Court to direct respondent[1]
to set a bond reduction hearing. We deny the petition for writ of mandamus.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator’s petition does not meet the
requirements of the Texas Rules of Appellate Procedure.&nbsp; See Tex.
R. App. P. 9.5 (requiring that certified copy be served on respondent); 52.3(k)
(requiring certified or sworn copy of any order complained of or any other
document showing matter complained of).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In addition, to establish that the
trial court abused its discretion by failing to rule, the relator must show
that the trial court (1) had a legal duty to perform a nondiscretionary act, (2)
was asked to perform that act, and (3) failed or refused to do so. &nbsp;Barnes v.
State, 832 S.W.2d 424, 426 (Tex. App.—Houston [1st Dist.] 1992, orig.
proceeding). Specifically, the relator must show that the trial court received
the motion, was aware of it, and was asked to rule on the motion. Id. Here, relator has not provided us with
a record showing that the trial court received his motion, was aware of it, was
asked to rule on it, and refused to rule.&nbsp;
See id.

Accordingly,
we deny the petition for writ of mandamus.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Bland and Massengale.

Do
not publish.&nbsp; &nbsp;Tex. R. App. P. 47.2(b).











[1]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Respondent is The Honorable
David E. Garner of the 10th District Court, Galveston County, Texas.







